     Case 1:21-cr-00582-CRC Document 100 Filed 04/26/22 Page 1 of 1
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                                                      Date Qt/.Z5 /;.o.7,,2
                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA        )
                                )     Case No. 21-582 (CRC)
    v.                          )
                                )     IN CAMERA, UNDER SEAL
MICHAEL A. SUSSMANN             )
                                )
    Defendant.                  )
                                )




   GOVERNMENT'S IN CAMERA, UNDER SEAL MOTION FOR AN IN CAMERA
    CLASSIFIED HEARING PURSUANT TO CIPA SECTION 6(a) AND NOTICE
 PURSUANT TO CIPA SECTIONS S(b) AND 6(b) OF OBJECTIONS CONCERNING
  PARTICULARITY OF NOTICE AND USE, RELEVANCE, AND ADMISSIBILITY
                    OF CLASSIFIED INFORMATION
